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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

KEITH HOBBS, individually and          )
on behalf of all others similarly situated,
                                       )
                                       )            No. 1:19-CV-10408-NMG
         Plaintiff                     )
                                       )
         v.                            )
                                       )
                                       )
COMMONWEALTH SERVICING                 )
GROUP, LLC, a Massachusetts limited    )
liability company, and DMB FINANCIAL, )
LLC, a Massachusetts limited liability )
Company,                               )
                                       )
         Defendants                    )


   COMMONWEALTH SERVICING GROUP, LLC and DMB FINCIANCIAL, LLC’s
              ANSWER TO PLAINTIFF’S COMPLAINT

       Defendants, Commonwealth Servicing Group, LLC (“Commonwealth”) and DMB

Financial, LLC (“DMB”) (collectively “Defendants”), by and through their undersigned counsel,

hereby answers the Plaintiff’s “Complaint” as follows:

       1.      Plaintiff Keith Hobbs is a natural person and resident of Columbus, Muscogee

County, Georgia.

ANSWER: Defendants admit that Mr. Hobbs is a natural person. The Defendants lack sufficient

knowledge to admit or deny the remaining allegations.

       2.      Defendant Commonwealth Servicing Group, LLC is a limited liability company

organized and existing under the laws of the State of Massachusetts with its headquarters located

at 500 Cummings Center, Suite 3450, Beverly, Massachusetts 01915. Defendant conducts business

throughout this District, the Commonwealth of Massachusetts, and the United States. It is unclear

at this time who the members are of CSG. Matthew Guthrie and Daniel Kwiatek are both managers
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and both reside in Massachusetts.

ANSWER: Defendants admit that Commonwealth is a limited liability company organized and

existing under the laws of the State of Massachusetts with its headquarters located at 500

Cummings Center, Suite 3450, Beverly, Massachusetts 01915. Defendants admit that

Commonwealth conducts business throughout this District, the Commonwealth of Massachusetts.

The Defendants deny that Commonwealth conducts business throughout the entire United States.

The Defendants admit that Matthew Guthrie and Daniel Kwiatek are managers of Commonwealth

and that both reside in Massachusetts.

       3.      Defendant DMB Financial, LLC is a limited liability company organized and

existing under the laws of the State of Massachusetts. Like its co-Defendant CSG, DMB’s

headquarters is located at 500 Cummings Center, Suite 3450, Beverly, Massachusetts 01915.

Defendant conducts business throughout this District, the Commonwealth of Massachusetts, and

the United States. Matthew Guthrie and Daniel Kwiatek are both managers and both reside in

Massachusetts.

ANSWER: Defendants admit that DMB is a limited liability company organized under the laws

of the State of Massachusetts. Defendants further admit that DMB’s headquarters is located at 500

Cummings Center, Suite 3450, Beverly, Massachusetts 01915. Defendants admit that DMB

conducts business throughout this District, the Commonwealth of Massachusetts. The Defendants

deny that DMB conducts business throughout the entire United States. The Defendants admit that

Matthew Guthrie and Daniel Kwiatek are managers of DMB and that both reside in Massachusetts.




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                                 JURISDICTION AND VENUE

       4.      This Court has federal question subject matter jurisdiction under 28 U.S.C. § 1331,

as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq., which

is a federal statute. The Court also has subject matter jurisdiction under the Class Action Fairness

Act, 28 U.S.C. § 1332(d), et seq. because the class consists of over 100 people, at least one member

of the class is from a State other than Massachusetts, and the amounts in controversy are over

$5,000,000. Further, none of the exceptions to CAFA jurisdiction apply. On information and

belief, the members of both Defendants reside in the Commonwealth of Massachusetts.

ANSWER: The Defendants admit that the Court has federal question subject matter under 28

U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §

227. The Defendants deny that a class exists. The Defendants deny that the amounts in

controversy are over $5,000,000.00. The Defendants lack sufficient knowledge to admit or deny

as to whether any of the exceptions to CAFA jurisdiction apply in this instance. The Defendants

admit that members of both Defendants reside in the Commonwealth of Massachusetts.

       5.      The Court has personal jurisdiction over Defendants because they have ongoing

and continuous contacts with this District, are headquartered and reside in this District, solicit

significant consumer business in this District, have entered into contracts in this District, and the

unlawful conduct alleged in this Complaint occurred in, was directed to, and/or emanated from

this District. On information and belief, the members of both Defendants reside in this District.

ANSWER: The Defendants deny that they solicit significant consumer business in this District.

The Defendants further deny they made the phone calls as alleged in the Plaintiff’s Complaint or

participated in any unlawful conduct. The Defendants admit the remaining allegations.




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        6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Defendants

both reside in this District.

ANSWER: Defendants admit the allegations set forth in paragraph 6.

                                COMMON FACTUAL ALLEGATIONS

        7.      Defendant CSG is a debt settlement business. CSG claims that since it assists

consumers by negotiating lower payments on their outstanding debts.

ANSWER: Defendants deny the allegations set forth in paragraph 7.

        8.      Defendant DMB is a financial services company that also claims it assists

consumers in restructuring and reducing their existing debts.

ANSWER: Defendants deny the allegations set forth in paragraph 8.

        9.      Defendants share the same managing members—Matthew Guthrie and Daniel

Kwiatek—and are headquartered at the same address: 500 Cummings Center, Suite 3450, Beverly,

Massachusetts 01915.

ANSWER: Defendants admit the allegations set forth in paragraph 9.

        10.     On information and belief, Defendants work together to conduct a wide-scale

telemarketing scheme that features the placement of calls to consumers using the fictitious name

Commonwealth Law Group.

ANSWER: Defendants deny the allegations set forth in paragraph 10.

        11.     Unfortunately for consumers, Defendants cast their marketing net too wide. That

is, in an attempt to promote their businesses and to generate leads for their debt management

services, Defendants conducted (and continue to conduct) a national telemarketing campaign that

features the repeated making of unsolicited calls to consumers’ telephones, including cellular,

while utilizing an artificial or prerecorded voice without consent—all in violation of the Telephone




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Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”).

ANSWER: Defendants deny the allegations set forth in paragraph 11.

       12.     Hence, in Defendants’ overzealous attempts to market their services, they placed

(and continue to place) prerecorded phone calls to consumers that never provided consent to be

called and to consumers with whom they have no prior relationship.

ANSWER: Defendants deny the allegations set forth in paragraph 12.

       13.     The TCPA was enacted to protect consumers from unsolicited telephone calls like

those alleged in this case.

ANSWER: Defendants lack sufficient knowledge to admit or deny as to why Congress enacted

the TCPA. Defendants deny that they made the phone calls as alleged in the Plaintiff’s Complaint.

       14.     In response to Defendants’ unlawful conduct, Plaintiff files the instant lawsuit and

seeks injunctive and declaratory relief requiring Defendants to cease all unsolicited telephone

calling activities to consumers as complained of herein and an award of statutory damages to the

members of the Class under the TCPA, together with pre- and post-judgment interest, costs and

reasonable attorneys’ fees.

ANSWER: The Defendants deny that they participated in any unlawful conduct. Defendants

deny that they made the phone calls as alleged in the Plaintiff’s Complaint. The Defendants admit

that the Plaintiff filed the instant lawsuit seeking the remedies referenced in paragraph 14.

       15.     By making the telephone calls at issue in this Complaint, Defendants caused

Plaintiff and the members of the Class actual harm and cognizable legal injury. This includes

aggravation, nuisance, and invasions of privacy that result from the placement and receipt of such

unwanted calls, a loss of value realized for the monies consumers paid to their wireless carriers for

the receipt of such calls, and an interruption and loss of the use and enjoyment of their telephones,




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including the related data, software, and hardware components, and wear and tear on such

components including the consumption of battery life, among other harms.

ANSWER: Defendants deny the allegations set forth in paragraph 15.

       16.     Defendants knowingly made (and continue to make) telemarketing calls without

the prior express consent of the call recipients.

ANSWER: Defendants deny the allegations set forth in paragraph 16.

       17.     As such, Defendants not only invaded the personal privacy of Plaintiff and

members of the putative Class, they also intentionally and repeatedly violated the TCPA.

ANSWER: Defendants deny the allegations set forth in paragraph 17.

                     FACTS SPECIFIC TO PLAINTIFF KEITH HOBBS

       18.     Plaintiff Hobbs is the primary and customary user of the telephone number ending

in 7558.

ANSWER: The Defendants lack sufficient knowledge to either admit or deny the allegations set

forth in paragraph 18.

       19.     Beginning in or around April 2018, Plaintiff Hobbs received a series of

telemarketing calls, including prerecorded calls, from Defendants soliciting him to purchase their

debt reduction services.

ANSWER: Defendants deny the allegations set forth in paragraph 19.

       20.     On information and belief, Defendants utilize Caller ID spoofing technology to

mask the identity of their originating telephone numbers.

ANSWER: Defendants deny the allegations set forth in paragraph 20.

       21.     Defendants acted jointly when making the calls. The calls were made for the mutual

benefit in accordance with their unlawful telemarketing scheme (that featured repeated autodialed




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and pre-recorded message calls to consumers who never provided prior express consent to receive

them).

ANSWER: Defendants deny the allegations set forth in paragraph 21.

         22.   During one of the calls, Plaintiff Hobbs answered and heard the following

prerecorded statement: “Hello, this is Heather at Account Services, and we’re calling in reference

to your current credit card account. There’s no problems currently with your accounts. It is urgent,

however, that you contact us concerning your eligibility for lowering your interest rates to as little

as 6.9%. Your eligibility expires shortly so please consider this your final notice. Please press 1

now on your phone to speak with a live operator and lower your interest rates . . .”

ANSWER: The Defendants lack sufficient knowledge to either admit or deny the allegations set

forth in paragraph 22.

         23.   In response to the message, Plaintiff pressed 1 to speak with a representative. He

then heard the following prerecorded statement, “Thank you for calling Debt Services. If you do

not have more than ten thousand dollars in credit card debt, then press 7 now to be placed on our

do not call list. Otherwise, if you do have more than ten thousand dollars in credit card debt and

would like to speak with a debt specialist, press 4 now. Thank you.”

ANSWER: The Defendants lack sufficient knowledge to either admit or deny the allegations set

forth in paragraph 23.

         24.   Following the second message, Plaintiff pressed 4 and spoke with an individual

who identified herself as “Sarah.”

ANSWER: The Defendants lack sufficient knowledge to either admit or deny the allegations set

forth in paragraph 24.

         25.   Although he had never provided prior express consent to be called, Plaintiff




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provided Defendants’ agent/employee with responses to her inquires regarding his current debts

to see if he was eligible for a reduction on his current credit card interest rates.

ANSWER: Defendants deny the allegations set forth in paragraph 25.

        26.     During the call, Plaintiff asked if he could receive information regarding the debt

reduction services via email. Defendants’ agent/employee informed Plaintiff that they “don’t send

you any email information.”

ANSWER: Defendants deny the allegations set forth in paragraph 26.

        27.     Thereafter, Plaintiff was quickly transferred to another agent/employee of the

Defendants who identified himself as David Mahajan.

ANSWER: Defendants deny the allegations set forth in paragraph 27.

        28.     Following a conversation about the details of the debt reduction services, Plaintiff

again requested that Mr. Mahajan send him information via email. Mr. Mahajan also stated that

they don’t send information via email. Plaintiff then ended the call.

ANSWER: The Defendants lack sufficient knowledge to either admit or deny the allegations set

forth in paragraph 28.

        29.     Subsequently, Mr. Mahajan sent Plaintiff a text message. The message reiterated

the plan that Defendants had offered Plaintiff over the telephone and then provided Plaintiff with

a direct link to the website, https://www.cwservicing.com/settlements/.

ANSWER: The Defendants lack sufficient knowledge to either admit or deny the allegations set

forth in paragraph 29.

        30.     On information and belief, Defendants own and operate the website,

https://www.cwservicing.com/settlements/.

ANSWER: Defendants admit the allegations set forth in paragraph 30.




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       31.     Plaintiff Hobbs does not have a current relationship with Defendants and has never

provided any form of prior express consent to Defendants.

ANSWER: Defendants admit the allegations set forth in paragraph 31. Defendants deny that they

made the telephone calls as alleged in the Plaintiff’s Complaint.

       32.     By making the telephone calls at issue in this Complaint, Defendants caused

Plaintiff actual harm and cognizable legal injury. This includes the aggravation and nuisance and

invasions of privacy that result from the placement and receipt of such unwanted calls, a loss of

value realized for the monies consumers paid to his wireless carriers for the receipt of such calls,

and the interruption and loss of the use and enjoyment of his telephones, including the related data,

software, and hardware components, and wear and tear on such components including the

consumption of battery life, among other harms.

ANSWER: Defendants deny the allegations set forth in paragraph 32.

       33.     Defendants are and were aware that the above-described telephone calls are and

were being made to consumers like Plaintiff who had not consented to receive them.

ANSWER: Defendants deny the allegations set forth in paragraph 33.

CLASS ALLEGATIONS

       34.     In accordance with Fed. R. Civ. P. 23 Plaintiff Hobbs brings this action on behalf

of himself and a nationwide Class defined as follows:

       All persons in the United States who (1) from the date four years prior to the filing
       of this Complaint through the date notice is sent to the class members; (2)
       Defendants, or a third person acting on behalf of Defendants, called; (3) for the
       purpose of selling Defendants’ products and/or services, (4) using the same pre-
       recorded voice that was used to call the Plaintiff; and (5) for whom Defendants
       claim they obtained prior express consent in the same manner as Defendants claim
       they supposedly obtained prior express consent to call the Plaintiff.

The following people are excluded from the Class: (1) any Judge or Magistrate presiding over this




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action and members of their families; (2) Defendants, Defendants’ subsidiaries, parents,

successors, predecessors, and any entity in which the Defendants or their parents have a

controlling interest and its current or former employees, officers and directors; (3) persons who

properly execute and file a timely request for exclusion from the Class; (4) persons whose claims

in this matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s

counsel and Defendants’ counsel; and (6) the legal representatives, successors, and assigns

of any such excluded persons. Plaintiff anticipates the need to amend the class definition following

discovery into the scope of the class, the manner by which the Plaintiff supposedly consented to

receipt of the calls, the technology used to place the calls, and the identity of any other persons

who should be included as party defendants.

ANSWER: Defendants deny that a class exits. The allegations set forth in paragraph 34 speak

for themselves.

       35.     Numerosity: The exact size of the Class is unknown and not available to Plaintiff

at this time, but individual joinder is impracticable. On information and belief, Defendants made

telephone calls to thousands of consumers who fall into the definition of the Class. Members of

the Class can be identified through reference to objective criteria, including Defendants’ business

records, consumer phone records, and other objective evidence to be gained in discovery.

ANSWER: Defendants deny that a class exits. Defendants deny that they made the telephone

calls as alleged in the Plaintiff’s Complaint.

       36.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:




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               (a)    Whether Defendants’ conduct violated the TCPA;

               (b)    Whether Defendants systematically made telephone calls to individuals

                      who did not previously provide Defendants and/or their agents with their

                      prior express consent to receive such phone calls;

               (c)    Whether Defendants made the calls with the use of an artificial and/or

                      prerecorded voice; and

               (d)    Whether Defendants’ acted willfully such that treble damages are

                      warranted.

ANSWER: Defendants deny that a class exits. Defendants deny that a class action is appropriate

in this instance. Defendants deny that they made the telephone calls as alleged in the Plaintiff’s

Complaint.

       37.     Typicality: Plaintiff’s claims are typical of the claims of the other members of the

Class. Plaintiff is a member of the Class and, together with the other Class members, suffered

essentially identical harm and damages as a result of Defendants’ uniform wrongful conduct,

namely their repeated making of unlawful telemarketing calls.

ANSWER: Defendants deny that a class exits. Defendants deny that a class action is appropriate

in this instance. Defendants deny that they made the telephone calls as alleged in the Plaintiff’s

Complaint. Defendants deny that they participated in wrongful conduct. Defendants deny that the

Plaintiff or any alleged class member suffered harm or damages as alleged in the Complaint.

       38.     Fair and Adequate Representation: Plaintiff will fairly and adequately represent

and protect the interests of the Class and has retained counsel competent and experienced in

complex class actions, including class actions under the TCPA for pre-recorded voice calls and

similar cases. Plaintiff has no interest antagonistic to those of the Class, and Defendants have no




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defenses unique to Plaintiff.

ANSWER: Defendants deny that a class exits. Defendants deny that a class action is appropriate

in this instance. Defendants deny that they made the telephone calls as alleged in the Plaintiff’s

Complaint. Defendants deny that the Plaintiff or any alleged class member suffered harm or

damages as alleged in the Complaint. Defendants deny that they participated in wrongful conduct.

       39.     Conduct Similar Towards All Class Members under Rule 23(b)(2): This class

action is appropriate for certification because Defendants have acted or refused to act on grounds

generally applicable to the Class as a respective whole, thereby requiring the Court’s imposition

of uniform relief to ensure compatible standards of conduct toward the Class members and making

final injunctive relief appropriate with respect to the Class as a respective whole. Defendants’

practices challenged herein apply to and affect the Class members uniformly, and Plaintiff’s

challenge of those practices hinges on Defendants’ conduct with respect to the Class as a respective

whole, not on facts or law applicable only to Plaintiff.

ANSWER: Defendants deny that a class exits. Defendants deny that a class action is appropriate

in this instance. Defendants deny that they made the telephone calls as alleged in the Plaintiff’s

Complaint. Defendants deny that the Plaintiff or any alleged class member suffered harm or

damages as alleged in the Complaint. Defendants deny that they participated in wrongful conduct.

       40.     Superiority & Manageability under Rule 23(b)(3): This case is also appropriate

for class certification because class proceedings are superior to all other available methods for the

fair and efficient adjudication of this controversy given that joinder of all parties is impracticable.

The damages suffered by the individual members of the Class will likely be relatively small,

especially given the burden and expense of individual prosecution of the complex litigation

necessitated by Defendants’ actions. Thus, it would be virtually impossible for the individual




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members of the Class to obtain effective relief from Defendants’ misconduct. Even if members of

the Class could sustain such individual litigation, it would still not be preferable to a class action

because individual litigation would increase the delay and expense to all parties due to the complex

legal and factual controversies presented in this Complaint. By contrast, a class action presents far

fewer management difficulties and provides the benefits of single adjudication, economy of scale,

and comprehensive supervision by a single court for each of the Class. Economies of time, effort,

and expense will be fostered and uniformity of decisions ensured.

ANSWER: Defendants deny that a class exits. Defendants deny that a class action is appropriate

in this instance. Defendants deny that they made the telephone calls as alleged in the Plaintiff’s

Complaint. Defendants deny that the Plaintiff or any alleged class member suffered harm or

damages as alleged in the Complaint. Defendants deny that they participated in wrongful conduct.

                                      CAUSE OF ACTION
                              Violation of 47 U.S.C. § 227(b), et seq.
                              (On behalf of Plaintiff and the Class)

       41.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

ANSWER: Defendants incorporate their forgoing answers as if fully set forth herein.

       42.     Defendants made unsolicited and unwanted pre-recorded telemarketing calls to

telephone numbers belonging to Plaintiff and the other members of the Class—without their prior

express written consent—in an effort to sell their products and services.

ANSWER: Defendants deny the allegations set forth in paragraph 42.

       43.     Defendants acted jointly in making the calls, and the calls were made with their

mutual knowledge and for their mutual benefit.

ANSWER: Defendants Deny the allegations set forth in paragraph 43.

       44.     Under the TCPA, it is unlawful:

       to initiate any telephone call to any residential telephone line using an artificial


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       or prerecorded voice to deliver a message without the prior express consent of the
       called party, unless the call is initiated for emergency purposes, is made solely
       pursuant to the collection of a debt owed to or guaranteed by the United States, or
       is exempted by rule or order by the Commission under paragraph (2)(B);

See 47 U.S.C. § 227(b)(1)(B). (emphasis added).

ANSWER: The section of the Act referenced in paragraph 44 speaks for itself.

       45.     By making unsolicited telephone calls to Plaintiff and members of the Class’s

telephones using an artificial or pre-recorded voice without first obtaining prior express consent,

Defendants violated the TCPA.

ANSWER:       Defendants deny that they made the telephone calls as alleged in the Plaintiff’s

Complaint.

       46.     As a result of Defendants’ unlawful conduct, Plaintiff and the members of the Class

suffered actual damages in the form of monies paid to receive the unsolicited telephone calls on

their cellular phones, lost data, and other damages, and, under Section 227(b)(3)(B) are each

entitled to, inter alia, a minimum of $500 in damages for each such violation of the TCPA.

ANSWER: Defendants deny the allegations set forth in paragraph 46.

       47.     Should the Court determine that Defendants’ conduct was willful and knowing, the

Court may, pursuant to Section 227(b)(3), treble the amount of statutory damages recoverable by

Plaintiff and the other members of the Class.

ANSWER: Defendants deny that they made the telephone calls as alleged in the Plaintiff’s

Complaint. The section of the Act referenced in paragraph 47 speaks for itself.




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                                 AFFIRMATIVE DEFENSES

        Defendants do not concede or waive the issue of which party bears the burden of proof as
to any of the following:

                                    First Affirmative Defense
                                    (Failure to State a Claim)

       The Complaint fails to state a claim upon which relief can be granted.

                                 Second Affirmative Defense
                       (No Use of Automatic Telephone Dialing System)

        The telephone system utilized by Defendants does not qualify as an automatic telephone
dialing system as defined by the Telephone Consumer Protection Act (“TCPA”).

                                 Third Affirmative Defense
                         (No Use of Artificial or Pre-Recorded Voice)

        The telephone system utilized by Defendants does not have the capabilities to make phone
calls using an artificial or pre-recorded voice.

                                   Fourth Affirmative Defense
                                  (Lack of Vicarious Liability)

       Defendants are not liable for the calls as alleged by the Plaintiff as any such calls, if any
such calls were made, would have been made by third parties for whose actions Defendants cannot
be held vicariously liable.

                                   Fifth Affirmative Defense
                                           (Waiver)

       Plaintiff’s (and alleged class members) claims are barred by the doctrine of waiver.

                                   Sixth Affirmative Defense
                                          (Estopple)

        Plaintiff and alleged class members have waived and are otherwise estopped from pursuing
their claims.

                                  Seventh Affirmative Defense
                                       (Unclean Hands)

        Plaintiff’s (and alleged class members), claims are barred by the doctrine of unclean hands
in that Plaintiff’s own actions are the cause of his Complaint.




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                                   Eighth Affirmative Defense
                                       (Frolic & Detour)

        To the extent that any violation of the TCPA was committed by agents or employees of
Defendants in direct contravention to established company policies, such conduct by such agents
or employees was unauthorized, outside the ambit of their direct duties, and not in furtherance, but
in direct contravention, of Defendants’ policies. Defendants are not vicariously liable for such acts.

                                    Ninth Affirmative Defense
                                        (Indemnification)

        To the extent Defendants are liable to the Plaintiff (and alleged class members), Defendants
are entitled to indemnification from one or more third parties.

                                    Tenth Affirmative Defense
                                      (Lack of Due Process)

       The TCPA violates the First Amendment, Firth Amendment, Sixth Amendment, Eighth
Amendment, and Fourteenth Amendment to the Constitution of the United States of America and
is unconstitutional under state law.

                                  Eleventh Affirmative Defense
                                     (Statute of Limitations)

       The Plaintiff’s (and alleged class members) claims are barred by the statute of limitations.

                                   Twelfth Affirmative Defense
                                      (Failure to Mitigate)

       Plaintiff’s claims (and alleged class members) are limited to the extent that he failed to
mitigate his damages.

                                 Thirteenth Affirmative Defense
                                      (Duplicate Recovery)

        Plaintiff’s (and alleged class members) recovery is barred in whole or in part to the extent
that he seeks damages that would constitute a duplicative recovery.

                                 Fourteenth Affirmative Defense
                                         (Ratification)

       Plaintiff’s (and alleged class members) claims are barred, in whole or in part, by the
doctrine of ratification because he acquiesced to any conduct allegedly engaged in by Defendants.




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                                  Fifteenth Affirmative Defense
                                        (Lack of Standing)

        Plaintiff (and alleged class members) lacks standing to bring the claims at issue as he has
not suffered actual harm.

                                 Sixteenth Affirmative Defense
                                    (Reservation of Rights)

        Defendants do not yet have knowledge of all facts and evidence surrounding this matter
and, as a result, reserves its rights to amend its Answer to raise additional affirmative defenses as
they are discovered. Defendants reserve all rights to assert any and all other and further defenses.

                                Seventeenth Affirmative Defense
                                       (Right to Amend)

        Defendants reserve the right to amend their Answer, to assert additional affirmative
defenses and to supplement, alter or change its Affirmative Defenses upon revelation of more
definitive facts by the Plaintiff and upon the undertaking of discovery and investigation in this
matter.

                                 Eighteenth Affirmative Defense
                                          (Good Faith)

        The claims in the Plaintiff’s Complaint are barred because, at all times complained of,
Defendants acted without malice and in good faith, and all actions taken by Defendants with regard
to the Plaintiff were taken for lawful reasons and in good faith.

                                 Nineteenth Affirmative Defense
                                           (Consent)

     Based on Plaintiff’s actions, allegations, and/or conduct, Plaintiff (and alleged class
members) consented to receive the telephones calls as alleged in his Complaint.



                                              RESPECTFULLY SUBMITTED

                                              By: /s/ Daniel G. Ruggiero
                                              Daniel G. Ruggiero, Esq.
                                              275 Grove Street
                                              Suite 2-400
                                              Newton, MA 02466
                                              339-237-0343
                                              druggieroesq@gmail.com




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 9, 2019 a true and correct copy of the foregoing was
served upon all counsel and parties of record listed below by e-mail and if requested, via U.S.
Mail as well.

                                                           /s/ Daniel G. Ruggiero
                                                      ___________________________
                                                      Daniel G. Ruggiero, Esq.




                                       SERVICE LIST


Julie M. Tolek, Esq.
julie@thinkpinklaw.com
Think Pink Law
160 Speen Street, #202
Framingham, MA 01701
Tel: (617) 752-1739
Fax: (617) 752-1739

Steven L. Woodrow*
Woodrow & Peluso, LLC
3900 E. Mexico Avenue, Suite 300
Denver, CO 80210
Phone: (720) 213-0675
Email: swoodrow@woodrowpeluso.com




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